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                                                                                 August 5, 2022
    VIA ECF

    Honorable Marcia M. Henry
    United States Magistrate Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201

                           Re:       Kellner v. City of New York, et al.
                                     Docket No. 17-cv-01268 (MKB) (MMH)

    Dear Judge Henry:

                     I represent Plaintiff in the above matter. Further to Defendants’ letter to
    the Court dated August 3, 2022, indicating that the NYPD is seeking a court order before
    it will disclose any information relating to former Detective Litwin’s notes to Defendants,
    I have been advised by opposing counsel that a so-ordered letter stating the following will
    suffice to enable the release of the notes:

                     The NYPD has advised that there are privacy concerns of New York Civil
    Rights Law § 50-b implicated by the notes of former Detective Litwin sought by Plaintiff
    notwithstanding the redaction of personal identifying information of sex offense victims.
    Plaintiff is requesting that the Court nevertheless direct the release of the notes.

                   I thank the Court for its attention to this matter.

                                                           Respectfully,


                                                           Niall MacGiollabhuí
    cc: Susan P. Scharfstein, Esq.

                                                           SO ORDERED:


                                                           _________________________
                                                           MARCIA M. HENRY
                                                           United States Magistrate Judge
